            Case 1:20-cv-08416-VM Document 1 Filed 10/08/20 Page 1 of 21




UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
-------------------------------------- X
MARK DINARDO,                          :
                                                        Case No.: _________________
                                       :
                Plaintiff,             :
                                                        COMPLAINT
                                       :
      -against-                        :
                                                        DEMAND FOR JURY TRIAL
                                       :
MONTAGE RESOURCES CORPORATION, :
RANDALL ALBERT, MARK BURROUGHS, :
GENE DAVIS, DON DIMITRIEVICH,          :
RICHARD PATERSON, D. MARTIN            :
PHILLIPS, JOHN REINHART, DOUGLAS       :
SWANSON, and ROBERT ZORICH,            :
                                       :
                Defendants.            :
-------------------------------------- X

       Plaintiff, Mark Dinardo (“Plaintiff”), by his undersigned attorneys, alleges upon personal

knowledge with respect to himself, and information and belief based upon, inter alia, the

investigation of counsel as to all other allegations herein, as follows:

                                  NATURE OF THE ACTION

       1.      This is an action brought by Plaintiff against Montage Resources Corporation

(“Montage” or the “Company”) and the members of the Company’s board of directors (collectively

referred to as the “Board” or the “Individual Defendants” and, together with Montage, the

“Defendants”) for their violations of Sections 14(a) and 20(a) of the Securities Exchange Act of

1934 (“Exchange Act”), 15 U.S.C. §§ 78n(a) and 78t(a), and SEC Rule 14a-9, 17 C.F.R. § 240.14a-

9, in connection with the proposed merger between Montage and Southwestern Energy Company

(“Southwestern”) (the “Proposed Merger”). Plaintiff also asserts a claim against the Individual

Defendants for breaching their fiduciary duty of candor/disclosure under state law.

       2.      On August 12, 2020, Montage entered into an Agreement and Plan of Merger (the

“Merger Agreement”), pursuant to which the Company’s shareholders will receive 1.8656 shares



                                                  1
            Case 1:20-cv-08416-VM Document 1 Filed 10/08/20 Page 2 of 21




of Southwestern stock for each share of Montage common stock they own (the “Merger

Consideration”). Based on the number of shares of Southwestern and Montage common stock

outstanding immediately prior to the completion of the merger, it is estimated that Southwestern

stockholders will own approximately 90% and Montage stockholders will own approximately 10%

of the issued and outstanding shares of the combined company immediately following the

completion of the merger.

       3.      On October 6, 2020, in order to convince Montage shareholders to vote in favor of

the Proposed Merger, Defendants authorized the filing of a materially incomplete and misleading

definitive proxy statement (the “Proxy”) with the SEC, in violation of Sections 14(a) and 20(a) of

the Exchange Act and in breach of the Individual Defendants’ duty of disclosure.

       4.      In particular, the Proxy contains materially incomplete and misleading information

concerning: (i) the sales process; (ii) financial projections for Montage and Southwestern; (iii) the

valuation analyses performed by Montage’s financial advisor, Barclays Capital Inc. (“Barclays”),

in support of its fairness opinion; and (iv) Barclays’ conflicts of interest.

       5.      The special meeting of Montage shareholders to vote on the Proposed Merger is

currently scheduled for November 12, 2020 (the “Shareholder Vote”). It is imperative that the

material information that has been omitted from the Proxy is disclosed prior to the Shareholder

Vote so Plaintiff can cast an informed vote and properly exercise his corporate suffrage rights.

       6.      For these reasons, and as set forth in detail herein, Plaintiff asserts claims against

Defendants for violations of Sections 14(a) and 20(a) of the Exchange Act and breach of the duty

of candor/disclosure. Plaintiff seeks to enjoin Defendants from taking any steps to consummate

the Proposed Merger until the material information discussed herein is disclosed to Montage’s

shareholders sufficiently in advance of the Shareholder Vote or, in the event the Proposed Merger




                                                   2
             Case 1:20-cv-08416-VM Document 1 Filed 10/08/20 Page 3 of 21




is consummated, to recover damages resulting from the Defendants’ violations of the Exchange

Act and breach of the duty of candor/disclosure.

                                  JURISDICTION AND VENUE

        7.      This Court has original jurisdiction over this action pursuant to Section 27 of the

Exchange Act (15 U.S.C. § 78aa) and 28 U.S.C. § 1331 (federal question jurisdiction) as Plaintiff

alleges violations of Sections 14(a) and 20(a) of the Exchange Act.

        8.      The Court has supplemental jurisdiction over the state law claim for breach of the

duty of candor/disclosure pursuant to 28 U.S.C. § 1367.

        9.      Personal jurisdiction exists over each Defendant either because the Defendant

conducts business in or maintains operations in this District, or is an individual who is either

present in this District for jurisdictional purposes or has sufficient minimum contacts with this

District as to render the exercise of jurisdiction over the Defendants by this Court permissible

under traditional notions of fair play and substantial justice. “Where a federal statute such as

Section 27 of the [Exchange] Act confers nationwide service of process, the question becomes

whether the party has sufficient contacts with the United States, not any particular state.” Sec. Inv’r

Prot. Corp. v. Vigman 764 F.2d 1309, 1305 (9th Cir. 1985). “[S]o long as a defendant has minimum

contacts with the United States, Section of the Act confers personal jurisdiction over the defendant

in any federal district court.” Id. At 1316.

        10.     Venue is proper in this District under Section 27 of the Exchange Act and 28 U.S.C.

§ 1391, because Defendants are found or are inhabitants or transact business in this District.

Indeed, Montage’s common stock trades on New York Stock Exchange, which is headquartered

in this District, and Montage hired Barclays as its financial advisor for the purposes of the Proposed

Merger, which is also located in this District, rendering venue in this District appropriate. See, e.g.,




                                                   3
          Case 1:20-cv-08416-VM Document 1 Filed 10/08/20 Page 4 of 21




United States v. Svoboda, 347 F.3d 471, 484 n.13 (2d Cir. 2003) (collecting cases).

                                           PARTIES

       11.    Plaintiff is, and at all relevant times has been, a holder of Montage common stock.

       12.    Defendant Montage is an exploration and production company engaged in the

acquisition and development of oil and natural gas properties in the Appalachian Basin. The

Company’s common stock trades on the NYSE under the ticker symbol “MR”.

       13.    Individual Defendant Randall Albert is, and at all relevant times has been, a director

of the Company.

       14.    Individual Defendant Mark Burroughs is, and at all relevant times has been, a

director of the Company.

       15.    Individual Defendant Gene Davis is, and at all relevant times has been, a director

of the Company.

       16.    Individual Defendant Don Dimitrievich is, and at all relevant times has been, a

director of the Company.

       17.    Individual Defendant Richard Paterson is, and at all relevant times has been, a

director of the Company.

       18.    Individual Defendant D. Martin Phillips is, and at all relevant times has been, a

director of the Company.

       19.    Individual Defendant John Reinhart is, and at all relevant times has been, the

President and Chief Executive Officer of Montage and a director of the Company.

       20.    Individual Defendant Douglas Swanson is, and at all relevant times has been, a

director of the Company. Mr. Swanson is also the Managing Director of the Company’s largest

shareholder, EnCap.




                                                4
            Case 1:20-cv-08416-VM Document 1 Filed 10/08/20 Page 5 of 21




       21.     Individual Defendant Robert Zorich is, and at all relevant times has been, a director

of the Company.

       22.     The Individual Defendants referred to in ¶¶ 13-21 are collectively referred to herein

as the “Individual Defendants” and/or the “Board”, and together with Montage they are referred

to herein as the “Defendants.”

                                 SUBSTANTIVE ALLEGATIONS

       I.      Background and the Proposed Merger

       23.     Montage, formerly Eclipse Resources Corp, is an independent exploration and

production company. The Company is engaged in the acquisition and development of oil and

natural gas properties in the Appalachian Basin. It is the operator of the Utica Core Area and its

Marcellus Project Area. The Ordovician-aged Utica Shale is an unconventional reservoir

consisting of organic-rich black shale, with production occurring at vertical depths between 6,000

and 10,000 feet. The Marcellus Shale consists of organic-rich black shale, with production

occurring at vertical depths between 5,000 and 8,000 feet.

       24.     Non-party EnCap Investments L.P. (“EnCap”) is the Company’s largest

shareholder owning approximately 39.0% of the outstanding shares of Montage Common Stock

as of September 11, 2020. EnCap was consistently involved and consulted throughout the sales

process and     Individual Defendant Swanson is the Managing Director of Encap.

Contemporaneously with the execution of the Merger Agreement, Southwestern and EnCap

entered into a Support Agreement, pursuant to which EnCap agreed, among other things, subject

to the terms and conditions thereof, to vote all of its shares of Montage in favor of the Proposed

Merger and the Shareholder Vote.

       25.     Southwestern is an energy company engaged in natural gas and oil exploration,




                                                 5
          Case 1:20-cv-08416-VM Document 1 Filed 10/08/20 Page 6 of 21




development and production that operates through two segments: Exploration and Production and

Midstream Services. Its operations in northeast Pennsylvania are primarily focused on the

unconventional natural gas reservoir known as the Marcellus Shale. Through its affiliated

midstream subsidiaries, it is engaged in natural gas gathering activities in Arkansas and Louisiana.

Its operations are principally focused on the development of unconventional natural gas reservoirs

located in Pennsylvania, West Virginia and Arkansas.

       26.       On August 12, 2020, Southwestern issued a press release announcing the Proposed

Merger, which states in relevant part:

                 SOUTHWESTERN ENERGY ANNOUNCES AGREEMENT TO
                         ACQUIRE MONTAGE RESOURCES

         At-market, all-stock, in-basin acquisition delivers step change in free cash flow,
                 captures synergies and is accretive to all key financial metrics

       SPRING, Texas – August 12, 2020…Southwestern Energy Company (NYSE:
       SWN) and Montage Resources Corporation (NYSE: MR) today announced that
       they have entered into a definitive merger agreement under which Southwestern
       Energy will acquire Montage Resources in an all-stock transaction. Based on the 3-
       day average closing share prices of the companies as of August 11, 2020 and under
       the terms of the agreement, Montage Resources shareholders will receive 1.8656
       shares of Southwestern for each Montage Resources share. The transaction is
       expected to close in the fourth quarter of 2020, subject to customary closing
       conditions, including the approval of the Montage Resources shareholders.

       Highlights include:

             •   Represents a step change in free cash flow; approximately $100 million
                 annual free cash flow beginning in 2021 based on current strip pricing;

             •   Accretive to per share financial metrics as well as leverage, margin and
                 returns;

             •   Anticipated synergies of approximately $30 million in annual G&A savings
                 captured following the transaction close, in addition to operational
                 efficiencies;

             •   Maintains peer leading maturity runway and strong balance sheet;




                                                 6
  Case 1:20-cv-08416-VM Document 1 Filed 10/08/20 Page 7 of 21




   •   Combined company will be the third largest producer in Appalachia,
       expected total equivalent production of approximately 3 Bcfe per day; and

   •   Enhances economic inventory, with investment opportunities in proven,
       high-return Marcellus super rich and core Utica dry gas windows.

“This is an exciting step for Southwestern as we expand our Appalachia footprint
with the high-quality assets of Montage. As we have consistently stated, we are
firm believers in the benefits of value-creating consolidation. This transaction
further solidifies the Company’s position as a premier Appalachia operator and
provides additional scale and synergies strengthened by our leading operational
execution. Consistent with our strategy, this transaction is expected to deliver
increased free cash flow, improved returns and long-term value to shareholders,”
said Bill Way, Southwestern Energy President and Chief Executive Officer.

Way continued, “This acquisition is expected to deliver on all criteria of an
accretive, value-adding transaction for the shareholders of both Southwestern
Energy and Montage Resources. Southwestern Energy has consistently and
methodically taken steps to enhance its resilience over the last few years, and this
transaction solidifies that path and delivers on the commitment to responsibly
manage the balance sheet and return to free cash flow.”

John Reinhart, President and CEO of Montage Resources, commented, “This
transaction creates a compelling opportunity for both Southwestern Energy and
Montage Resources shareholders to benefit from the strength of the consolidated
company. The combination creates a Company of substantial scale with capabilities
to enhance cash flow generation and a strong balance sheet that provides
opportunities for enhanced shareholder value creation. We appreciate all of the
great work by Montage employees in forming a very attractive business that will
continue to build upon the success of Southwestern Energy.”

Concurrently, Southwestern also commenced a registered underwritten public
offering of 55,000,000 shares of its common stock, with the proceeds expected to
be used to retire a portion of Montage Resources’ 8.875% Senior Notes due 2023.
The remaining portion of the Montage notes outstanding have the potential to be
refinanced opportunistically.

This transaction delivers on the key strategic objectives that Southwestern Energy
has been targeting:

   •   No premium transaction

   •   Enhances free cash flow

   •   Improves leverage ratio




                                         7
           Case 1:20-cv-08416-VM Document 1 Filed 10/08/20 Page 8 of 21




               •   Capture of tangible synergies

               •   In-basin assets where technical and operating expertise can be leveraged

               •   High-quality inventory included in go forward development plans

               •   Retains peer leading maturity runway advisor.

         27.        The Merger Consideration represents inadequate compensation for Montage

shares. Prior to the execution of the Merger Agreement, wall street analysts projected price targets

for Montage as high as $10 per share to be achieved within the year, far inferior to implied value

of the Merger Consideration they are receiving. Moreover, since the announcement of the Merger

Agreement, the Company’s stock price has lost nearly 1/3 of its value as illustrated by the chart

below:




                                                   8
             Case 1:20-cv-08416-VM Document 1 Filed 10/08/20 Page 9 of 21




       28.       Therefore, it is imperative that shareholders receive the material information

(discussed in detail below) that Defendants have omitted from the Proxy, which is necessary for

shareholders to properly exercise their corporate suffrage rights and cast an informed vote on the

Proposed Merger.

       II.      The Proxy Omits Material Information

       29.       On October 6, 2020, Defendants filed the materially incomplete and misleading

Proxy with the SEC. The Individual Defendants were obligated to carefully review the Proxy

before it was filed with the SEC and disseminated to the Company’s shareholders to ensure that it

did not contain any material misrepresentations or omissions. However, in breach of their duty of

disclosure and in violation of the federal securities laws, the Proxy misrepresents and/or omits

material information that is necessary for the Company’s shareholders to make an informed

decision in connection with the Proposed Merger.

The Misleadingly Incomplete Summary of the Sales Process

       30.       In the section summarizing the Background of the Merger, the Proxy states that

Montage executed confidentiality agreements with multiple parties which contained standstill and

“don’t ask don’t waive” (“DADW”) provisions, but failed to disclose whether the confidentiality

agreement entered into with Party B contained a customary “fall away” provision or remained in

effect after the Merger Agreement. The Proxy states that each of the confidentiality agreements

executed between Montage and Southwestern, Party A, and Party C contained customary fall away

provisions. Moreover, pursuant to the Merger Agreement, Montage explicitly agreed not to

“amend or grant any waiver, release or modification under, or fail to enforce, any standstill or

similar agreement with respect to any class of equity securities of Montage or any of its subsidiaries

except that, prior to the approval of the Merger Proposal, if, in response to an unsolicited request




                                                  9
          Case 1:20-cv-08416-VM Document 1 Filed 10/08/20 Page 10 of 21




from a third party to waive any ‘standstill’ or similar provision. . . .” Proxy at 105. The combination

of these facts indicate that Party B was subject to a DADW provision that did not fall away and

prevented them from making a superior proposal, facts that must be disclosed.

       31.       The express communication of information concerning DADW provisions is

material to Montage shareholders, because it bears directly on the ability of parties that expressed

interest in acquiring the Company to offer them a better deal. The failure to plainly disclose the

existence of DADW provisions that survive the execution of the Merger Agreement creates the

false impression that Party B could have made a superior proposal. However, if their

confidentiality agreements remained in effect, then they could only make a superior proposal by

breaching the agreement—since in order to make the superior proposal, they would have to ask

for a waiver, either directly or indirectly. Thus, the omission of this material information renders

the descriptions of the confidentiality agreements the Company entered into in the Background of

the Merger section of the Proxy misleading. Any reasonable shareholder would deem the fact that

the most likely potential topping bidders in the marketplace may be precluded from making a

superior offer to significantly alter the total mix of information.

       32.       Additionally, the Company must disclose why Party B was prejudiced as the only

company subject to a DADW provision without a fall away.

The Misleadingly Incomplete Financial Projections

       33.       First, the Proxy omits critical financial projections for Montage, Southwestern,

and Pro Forma Southwestern, including net income projections (the “Net Income Projections”).

Defendants elected to summarize multiple sets of financial projections, but they excised and failed

to disclose the readily available Net Income Projections. By disclosing certain projections in the

Proxy and withholding the Net Income Projections, Defendants render the summary tables of




                                                  10
         Case 1:20-cv-08416-VM Document 1 Filed 10/08/20 Page 11 of 21




projections on pages 81-82 of the Proxy materially incomplete and provide a misleading valuation

picture of Montage and Southwestern. Simply put, net income projections are irreplaceable when

it comes to fully, fairly, and accurately understanding a company’s projections and value.

       34.      Second, the Proxy only provides year 2021 projections for Montage,

Southwestern, and Pro Forma Southwestern. However, Barclays utilized financial projections

through year 2024 in preforming its valuation analyses. These Later Year Projections must be

disclosed, since their omission renders the projections disclosed and the summary of the analyses

performed misleadingly incomplete.

       35.      Unlike poker where a player must conceal his unexposed cards, the object of a

proxy statement is to put all one’s cards on the table face-up. In this case only some of the cards

were exposed—the others were concealed. If a proxy statement discloses financial projections and

valuation information, such projections must be complete and accurate. The question here is not

the duty to speak, but liability for not having spoken enough. With regard to future events,

uncertain figures, and other so-called soft information, a company may choose silence or speech

elaborated by the factual basis as then known—but it may not choose half-truths. Accordingly,

Defendants have disclosed some of the projections relied upon by Barclays and the Board but

failed to disclose the Net Income Projections and the Later Year Projections. These omissions

render the summary of: the projection tables; Barclays’ valuation analyses; and each company’s

financial picture in the Proxy misleadingly incomplete.

The Misleadingly Incomplete Summary of Barclays’ Fairness Opinion

       36.      The Proxy describes Barclays’ fairness opinion and the various valuation analyses

performed in support of their opinion. Defendants concede the materiality of this information in

citing the fairness opinion and its valuation analyses among the “material” factors the Board




                                                11
          Case 1:20-cv-08416-VM Document 1 Filed 10/08/20 Page 12 of 21




considered in making its recommendation to Montage shareholders. Proxy at 63; see also Proxy

at 68 (“The following is a summary of the material financial analyses used by Barclays in preparing

its opinion to the Montage Board.”). However, the summary of the fairness opinion and analyses

provided in the Proxy fails to include key inputs and assumptions underlying the analyses. Without

this information, as described below, Montage shareholders are unable to fully understand these

analyses and, thus, are unable to determine what weight, if any, to place the fairness opinion in

determining how to vote on the Proposed Merger. See Proxy at 68 (“Barclays believes that its

analyses must be considered as a whole, as considering any portion of such analyses and factors,

without considering all analyses and factors as a whole, could create a misleading or incomplete

view of the process underlying its opinion.”). This omitted information, if disclosed, would

significantly alter the total mix of information available to Montage’s shareholders.

       37.      In summarizing the Net Asset Valuation Analysis prepared by Barclays for each

of Montage and Southwestern, the Proxy fails to disclose the following key information: (i) the

actual after-tax cash flows used for each case in each analysis; (ii) the discount rates used in the

analysis; (iii) the inputs and assumptions underlying the discount rate ranges (including CAPM

components).

       38.      These key inputs are material to Montage shareholders, and their omission

renders the summary of the Net Asset Valuation Analysis incomplete and misleading. As

Professor Davidoff explained in a law review article regarding the fundamental flaws with the

valuation analyses bankers perform in support of fairness opinions, in a discounted cash flow

analysis (very similar to a net asset value analysis) a banker takes management’s forecasted cash

flows, and then makes several key choices “each of which can significantly affect the final

valuation.” Steven M. Davidoff, Fairness Opinions, 55 Am. U.L. Rev. 1557, 1576 (2006). Such




                                                 12
          Case 1:20-cv-08416-VM Document 1 Filed 10/08/20 Page 13 of 21




choices include “the appropriate discount rate, and the terminal value…” Id. As Professor

Davidoff explains:

       There is substantial leeway to determine each of these, and any change can
       markedly affect the discounted cash flow value. For example, a change in the
       discount rate by one percent on a stream of cash flows in the billions of dollars can
       change the discounted cash flow value by tens if not hundreds of millions of
       dollars….This issue arises not only with a discounted cash flow analysis, but with
       each of the other valuation techniques. This dazzling variability makes it difficult
       to rely, compare, or analyze the valuations underlying a fairness opinion unless full
       disclosure is made of the various inputs in the valuation process, the weight
       assigned for each, and the rationale underlying these choices. The substantial
       discretion and lack of guidelines and standards also makes the process vulnerable
       to manipulation to arrive at the “right” answer for fairness. This raises a further
       dilemma in light of the conflicted nature of the investment banks who often provide
       these opinions.

Id. at 1577-78.

       39.        Without the above-omitted information Montage shareholders are misled as to

the reasonableness or reliability of Barclays’ analysis, and unable to properly assess the fairness

of the Proposed Merger. This is especially true here, given that the two essential components of

the analysis (cash flows and discount rates) are withheld. As such, these material omissions render

the summary of the Net Asset Valuation Analysis included in the Proxy misleadingly incomplete.

       40.        Also, in summarizing Barclays’ Selected Comparable Company Analysis and

Selected Comparable Transaction Analysis, the Proxy fails to disclose the individual multiples

of each company and transaction utilized in the analysis. A fair summary of a comparable

companies or transactions analysis requires the disclosure of the actual multiples for each

company or transaction used in the analysis. Merely providing a selected representative range

that a banker calculated without any further information is insufficient, as shareholders are unable

to assess whether the banker applied appropriate multiples, or, instead, applied unreasonably low

multiples in order to present the Merger Consideration in the most favorable light. Accordingly,




                                                 13
          Case 1:20-cv-08416-VM Document 1 Filed 10/08/20 Page 14 of 21




the omission of this material information renders the summary of these analyses provided in the

Proxy misleading.

       41.       Similarly, in summarizing Barclays’ Equity Research Analyst Price Targets

Analysis, the Proxy omits the individual price targets observed or the dates of those price targets.

Instead, the Proxy only provides a range of the price targets for each company. Given the breadth

of the price targets provided, it is unclear if those price targets were summarized fairly or present

a skewed version of each company’s value. The disclosure here is insufficient and renders the

summary misleadingly incomplete.

The Misleadingly Incomplete Summary of Barclays’ Conflicts of Interest

       42.       The Proxy provides a misleading summary of the conflicts of interest facing

Barclays. On pages 78-79, the Proxy states:

       [I]n the past two years, Barclays has performed and received fees for certain
       financial advisory services to Blue Ridge Mountain Resources, Inc. in connection
       with its merger with Eclipse Resource Corporation announced in August 2018.
       Montage is the resulting combined entity of such merger transaction. Further, an
       affiliate of Barclays is a lender under Montage’s existing revolving line of credit
       facility.
                                                 ...
       In addition, Barclays and its affiliates in the past have provided, currently are
       providing, or in the future may provide, investment banking services to EnCap, and
       certain of its affiliates and portfolio companies and have received or in the future
       may receive customary fees for rendering such services, including (i) having acted
       or acting as financial advisor to EnCap, certain of its affiliates and/or portfolio
       companies in connection with certain mergers and acquisition transactions;
       (ii) having acted or acting as arranger, bookrunner and/or lender for EnCap, certain
       of its affiliates and/or portfolio companies in connection with the financing for
       various acquisition transactions; and (iii) having acted or acting as underwriter,
       initial purchaser and placement agent for various equity and debt offerings
       undertaken by EnCap, certain of its affiliates and/or portfolio companies.

       43.       However, the Proxy fails to disclose the amount of fees Barclays received or

expects to receive in performing these services for Montage and EnCap. Disclosure of “any

compensation received or to be received as a result of the relationship between” a financial



                                                 14
            Case 1:20-cv-08416-VM Document 1 Filed 10/08/20 Page 15 of 21




advisor and the company it advises, or its related affiliates, is required pursuant to 17 C.F.R. §

229.1015(b)(4).

          44.      It is critical for shareholders to be able to understand what factors might influence

the financial advisor’s analytical efforts. A financial advisor’s own proprietary financial interest

in a proposed transaction must be carefully considered when assessing how much credence to

give its analysis. A reasonable shareholder would want to know what important economic

motivations that the advisor might have. By failing to disclose the actual amount of compensation

Barclays received or expects to receive from their other engagements, the Proxy provides a

misleading description of the Barclays’ conflicts of interest in direct violation of the federal

securities laws.

          45.      In sum, the omission of the above-referenced information renders the Proxy

materially incomplete and misleading, in contravention of the Exchange Act and the Individual

Defendants’ duty of candor/disclosure. Absent disclosure of the foregoing material information

prior to the Shareholder Vote, Plaintiff will be unable to cast an informed vote regarding the

Proposed Merger, and is thus threatened with irreparable harm, warranting the injunctive relief

sought herein.

                                           COUNT I
           Against All Defendants for Violations of Section 14(a) of the Exchange Act

          46.      Plaintiff incorporates each and every allegation set forth above as if fully set forth

herein.

          47.      Section 14(a)(1) of the Exchange Act makes it “unlawful for any person, by the

use of the mails or by any means or instrumentality of interstate commerce or of any facility of a

national securities exchange or otherwise, in contravention of such rules and regulations as the

Commission may prescribe as necessary or appropriate in the public interest or for the protection



                                                    15
          Case 1:20-cv-08416-VM Document 1 Filed 10/08/20 Page 16 of 21




of investors, to solicit or to permit the use of his name to solicit any proxy or consent or

authorization in respect of any security (other than an exempted security) registered pursuant to

section 78l of this title.” 15 U.S.C. § 78n(a)(1).

        48.      Rule 14a-9, promulgated by the SEC pursuant to Section 14(a) of the Exchange

Act, provides that proxy communications shall not contain “any statement which, at the time and

in the light of the circumstances under which it is made, is false or misleading with respect to any

material fact, or which omits to state any material fact necessary in order to make the statements

therein not false or misleading.” 17 C.F.R. § 240.14a-9.

        49.     Item 1015 of Regulation M-A requires “[a]ny report, opinion or appraisal relating

to the consideration or the fairness of the consideration to be offered to security holders or the

fairness of the transaction to the issuer or affiliate or to security holders who are not affiliates” to

“[d]escribe any material relationship that existed during the past two years or is mutually

understood to be contemplated and any compensation received or to be received as a result of the

relationship between: (i) The outside party, its affiliates, and/or unaffiliated representative; and

(ii) The subject company or its affiliates.” 17 CFR § 229.1015.

        50.      The omission of information from a proxy will violate Section 14(a) if other SEC

regulations specifically require disclosure of the omitted information.

        51.      Defendants have issued the Proxy with the intention of soliciting the Company’s

common shareholders’ support for the Proposed Merger. Each of the Individual Defendants

reviewed and authorized the dissemination of the Proxy, which fails to provide critical

information regarding, amongst other things: (i) the sales process of the Proposed Merger; (ii)

financial projections for Montage and Southwestern; (iii) the valuation analyses performed by

Barclays in support of its fairness opinion; and (iv) Barclays’ conflicts of interest.




                                                     16
          Case 1:20-cv-08416-VM Document 1 Filed 10/08/20 Page 17 of 21




       52.       In so doing, Defendants made misleading statements of fact and/or omitted

material facts necessary to make the statements made not misleading. Each of the Individual

Defendants, by virtue of their roles as officers and/or directors, were aware of the omitted

information but failed to disclose such information, in violation of Section 14(a). The Individual

Defendants were therefore negligent, as they had reasonable grounds to believe material facts

existed that were misstated or omitted from the Proxy, but nonetheless failed to obtain and

disclose such information to the Company’s shareholders although they could have done so

without extraordinary effort.

       53.       The Individual Defendants knew or were negligent in not knowing that the Proxy

is materially misleading and omits material facts that are necessary to render it not misleading.

The Individual Defendants undoubtedly reviewed and relied upon most if not all of the omitted

information identified above in connection with their decision to approve and recommend the

Proposed Merger; indeed, the Proxy states that Barclays reviewed and discussed their financial

analyses with the Board, and further states that the Board considered the financial analyses

provided them, as well as its fairness opinion and the assumptions made and matters considered

in connection therewith. Further, the Individual Defendants were privy to and had knowledge of

the financial projections and the details surrounding the process leading up to the signing of the

Merger Agreement. The Individual Defendants knew or were negligent in not knowing that the

material information identified above has been omitted from the Proxy, rendering the sections of

the Proxy identified above to be materially incomplete and misleading. Indeed, the Individual

Defendants were required to, separately, review Barclays’ analyses in connection with their

receipt of the fairness opinion, question them as to their derivation of fairness, and be particularly

attentive to the procedures followed in preparing the Proxy and review it carefully before it was




                                                  17
            Case 1:20-cv-08416-VM Document 1 Filed 10/08/20 Page 18 of 21




disseminated, to corroborate that there are no material misstatements or omissions.

          54.    The Individual Defendants were, at the very least, negligent in preparing and

reviewing the Proxy. The preparation of a proxy statement by corporate insiders containing

materially false or misleading statements or omitting a material fact constitutes negligence. The

Individual Defendants were negligent in choosing to omit material information from the Proxy

or failing to notice the material omissions in the Proxy upon reviewing it, which they were

required to do carefully as the Company’s directors. Indeed, the Individual Defendants were

intricately involved in the process leading up to the signing of the Merger Agreement and

preparation and review of the Company’s financial projections.

          55.    Montage is also deemed negligent as a result of the Individual Defendants’

negligence in preparing and reviewing the Proxy.

          56.    The misrepresentations and omissions in the Proxy are material and Plaintiff will

be deprived of his right to cast an informed vote on the Proposed Merger if such

misrepresentations and omissions are not corrected prior to the special meeting of Montage’s

shareholders. Plaintiff has no adequate remedy at law. Only through the exercise of this Court’s

equitable powers can Plaintiff be fully protected from the immediate and irreparable injury that

Defendants’ actions threaten to inflict.

                                       COUNT II
   Against the Individual Defendants for Violations of Section 20(a) of the Exchange Act

          57.    Plaintiff incorporates each and every allegation set forth above as if fully set forth

herein.

          58.    The Individual Defendants acted as controlling persons of Montage within the

meaning of Section 20(a) of the Exchange Act as alleged herein. By virtue of their positions as

officers and/or directors of the Company, and participation in and/or awareness of the Company’s



                                                  18
         Case 1:20-cv-08416-VM Document 1 Filed 10/08/20 Page 19 of 21




operations and/or intimate knowledge of the incomplete and misleading statements contained in

the Proxy filed with the SEC, they had the power to influence and control and did influence and

control, directly or indirectly, the decision making of the Company, including the content and

dissemination of the various statements that Plaintiff contends are materially incomplete and

misleading.

       59.      Each of the Individual Defendants was provided with or had unlimited access to

copies of the Proxy and other statements alleged by Plaintiff to be misleading prior to and/or

shortly after these statements were issued and had the ability to prevent the issuance of the

statements or cause the statements to be corrected.

       60.      In particular, each of the Individual Defendants had direct and supervisory

involvement in the day-to-day operations of the Company, and, therefore, is presumed to have

had the power to control or influence the particular transactions giving rise to the Exchange Act

violations alleged herein, and exercised the same. The Proxy contains the unanimous

recommendation of each of the Individual Defendants to approve the Proposed Merger. They

were thus directly involved in preparing this document.

       61.      In addition, as the Proxy sets forth at length, and as described herein, the

Individual Defendants were involved in negotiating, reviewing, and approving the Merger

Agreement. The Proxy purports to describe the various issues and information that the Individual

Defendants reviewed and considered. The Individual Defendants participated in drafting and/or

gave their input on the content of those descriptions.

       62.      By virtue of the foregoing, the Individual Defendants have violated Section 20(a)

of the Exchange Act.

       63.      As set forth above, the Individual Defendants had the ability to exercise control




                                                19
            Case 1:20-cv-08416-VM Document 1 Filed 10/08/20 Page 20 of 21




over and did control a person or persons who have each violated Section 14(a) and Rule 14a-9

by their acts and omissions as alleged herein. By virtue of their positions as controlling persons,

these defendants are liable pursuant to Section 20(a) of the Exchange Act. As a direct and

proximate result of Individual Defendants’ conduct, Plaintiff will be irreparably harmed.

          64.    Plaintiff has no adequate remedy at law. Only through the exercise of this Court’s

equitable powers can Plaintiff be fully protected from the immediate and irreparable injury that

Defendants’ actions threaten to inflict.

                                       COUNT III
   Against the Individual Defendants for Breach of Fiduciary Duty of Candor/Disclosure

          65.    Plaintiff incorporates each and every allegation set forth above as if fully set forth

herein.

          66.    By virtue of their role as directors and/or officers of the Company, the Individual

Defendants directly owed Plaintiff and all Company shareholders a fiduciary duty of

candor/disclosure, which required them to disclose fully and fairly all material information within

their control when they seek shareholder action, and to ensure that the Proxy did not omit any

material information or contain any materially misleading statements.

          67.    As alleged herein, the Individual Defendants breached their duty of

candor/disclosure by approving or causing the materially deficient Proxy to be disseminated to

Plaintiff and the Company’s other public shareholders.

          68.    The misrepresentations and omissions in the Proxy are material, and Plaintiff

will be deprived of his right to cast an informed vote if such misrepresentations and omissions

are not corrected prior to the Shareholder Vote. Where a shareholder has been denied one of the

most critical rights he or she possesses—the right to a fully informed vote—the harm suffered is

an individual and irreparable harm.



                                                  20
          Case 1:20-cv-08416-VM Document 1 Filed 10/08/20 Page 21 of 21




       69.      Plaintiff has no adequate remedy at law. Only through the exercise of this Court’s

equitable powers can Plaintiff be fully protected from the immediate and irreparable injury that

Defendants’ actions threaten to inflict.

                                     PRAYER FOR RELIEF

       WHEREFORE, Plaintiff prays for judgment and relief as follows:

       A.      Preliminarily enjoining Defendants and all persons acting in concert with them

from proceeding with the special meeting of Montage shareholders to vote on the Proposed Merger

or consummating the Proposed Merger, until the Company discloses the material information

discussed above which has been omitted from the Proxy;

       B.      Directing the Defendants to account to Plaintiff for all damages sustained as a result

of their wrongdoing;

       C.      Awarding Plaintiff the costs and disbursements of this action, including reasonable

attorneys’ and expert fees and expenses; and

       D.      Granting such other and further relief as this Court may deem just and proper.

                                           JURY DEMAND

       Plaintiff demands a trial by jury on all issues so triable.

Dated: October 8, 2020                              MONTEVERDE & ASSOCIATES PC
                                                     /s/ Juan E. Monteverde
                                                    Juan E. Monteverde (JM-8169)
                                                    The Empire State Building
                                                    350 Fifth Avenue, Suite 4405
                                                    New York, NY 10118
                                                    Tel: (212) 971-1341
                                                    Fax: (212) 202-7880
                                                    Email: jmonteverde@monteverdelaw.com

                                                    Attorneys for Plaintiff




                                                 21
